   Case 13-17148-KCF          Doc 21    Filed 07/02/13 Entered 07/03/13 11:22:55          Desc Main
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                                                                                  7/2/2013

    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-2(c)

    JOEL A. ACKERMAN
    JA 4027
    XWA 150281-2/mca
    ZUCKER, GOLDBERG & ACKERMAN, LLC
    Attorneys for Secured Creditor
    Ocwen Loan Servicing, LLC
    200 Sheffield Street, Suite 101
    P.O. Box 1024
    Mountainside, NJ 07092-0024
    1-908-233-8500
    In Re:                                                      Case No.: 13-17148-KCF
                                                                Adv. No.:
    Adam K. Gonzalez                                            Hearing Date: 7/2/2013 @ 10:00
                                                                a.m.

                                                                Judge: Kathryn Ferguson

                              ORDER VACATING AUTOMATIC STAY

           The relief set forth on the following pages, numbered two (2) through two (2) this if more
    than two pages is hereby ORDERED.




DATED: 7/2/2013




     
Case 13-17148-KCF        Doc 21   Filed 07/02/13 Entered 07/03/13 11:22:55                 Desc Main
(Page 2)                         Document      Page 2 of 2
Debtor(s):                Adam K. Gonzalez
Case No.:                 13-17148-KCF
Caption of Order:        ORDER VACATING AUTOMATIC STAY
 


        Upon the motion of ZUCKER, GOLDBERG & ACKERMAN, LLC, attorneys for
Secured Creditor, Ocwen Loan Servicing, LLC, under Bankruptcy Code section 362(a) for relief
from the automatic stay as to certain property as hereinafter set forth, and for good cause shown,
it is
        ORDERED that the automatic stay is vacated to permit the Movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue the Movant's rights in the following:
         X     Real property more fully described as 2313 3rd Avenue, Toms River, NJ 08753
               Personal property more fully described as:
        It is further ORDERED that the Movant may join the debtor and any trustee appointed in
this case as defendants in its action(s) irrespective of any conversion to any other chapter of the
Bankruptcy Code.
        It is further ORDERED that Movant, through its agents, servicers and representatives is
permitted to contact Debtor(s) and/or Debtor('s') counsel for the purpose of engaging in
discussions and consideration for possible loss mitigation options, solutions and/or resolutions
with regard to the underlying mortgage and note, including, but not limited to loan modification
or other loss mitigation alternatives
        The Movant shall serve this order on the debtor, any trustee and other party who entered
an appearance on the motion.




 

                                                            Approved by Judge Kathryn C. Ferguson July 02, 2013
